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                                                                                           Form 1                                                                                       Page: 1

                                                                Individual Estate Property Record and Report
                                                                                 Asset Cases
Case Number:           19-10838 BAK                                                                        Trustee: (530190)           Charles M. Ivey, III
Case Name:             TRAN, TRUNG TRIEU                                                                   Filed (f) or Converted (c): 08/07/19 (f)
                                                                                                           §341(a) Meeting Date:       09/03/19
Period Ending:         09/30/19                                                                            Claims Bar Date:

                                   1                                      2                    3                    4              5                  6                   7                  8
                                                                                          Est Net Value
                        Asset Description                               Petition/      (Value Determined         Property     Sale/Funds         Asset Fully           Lien             Exempt
             (Scheduled And Unscheduled (u) Property)                 Unscheduled       By Trustee, Less        Abandoned     Received by     Administered (FA)/      Amount            Amount
                                                                         Values        Liens, Exemptions,       OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                  and Other Costs)        DA=§554(c)                    Remaining Assets

 1       143 Brookview Rd., Danville, VA 24540-0000, Danv                 63,270.00                 0.00                               0.00                    FA        61,404.00           63,270.00
           Orig. Asset Memo: 522d5; Imported from Amended
         Doc#: 9; Original exemption amount: 1866.00

 2       3726 Velvet Lake Rd., Rhinelander, WI 54501-0000                282,690.00                 0.00                               0.00                    FA       331,936.74                 0.00
            No equity exists in the property for the benefit of the
         estate. Property to be surrendered; Motion for Relief was
         filed by secured lienholder. See Doc. 11

 3       2010 Mercedes-Benz E350, 167,530 miles, VIN# WDD                  6,727.50                 0.00                               0.00                    FA         4,114.00            6,727.50
           Orig. Asset Memo: Exempt under Section 522(d)(2);
         Imported from Amended Doc#: 9; Original exemption
         amount: 2613.50

 4       2016 Ford F 150 Platinum, 154,870 miles, VIN# 1F                 32,355.00                 0.00                               0.00                    FA        30,835.58           32,355.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9; Original exemption
         amount: 1519.42

 5       Household Goods and Furnishings                                      805.00                0.00                               0.00                    FA             0.00               805.00
           Orig. Asset Memo: Exempt under Section 522(d)(3);
         Imported from Amended Doc#: 9

 6       Electronics                                                          500.00                0.00                               0.00                    FA             0.00               500.00
           Orig. Asset Memo: Exempt under Section 522(d)(3);
         Imported from Amended Doc#: 9

 7       China and Silver                                                      40.00                0.00                               0.00                    FA             0.00                40.00
           Orig. Asset Memo: Exempt under Section 522(d)(3);
         Imported from Amended Doc#: 9

 8       Firearms and Ammunition                                              400.00                0.00                               0.00                    FA             0.00               400.00


                                                                                                                                                              Printed: 10/15/2019 11:45 AM       V.14.60
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                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:          19-10838 BAK                                                                   Trustee: (530190)           Charles M. Ivey, III
Case Name:            TRAN, TRUNG TRIEU                                                              Filed (f) or Converted (c): 08/07/19 (f)
                                                                                                     §341(a) Meeting Date:       09/03/19
Period Ending:        09/30/19                                                                       Claims Bar Date:

                                 1                                  2                    3                    4              5                  6                   7                  8
                                                                                    Est Net Value
                       Asset Description                          Petition/      (Value Determined         Property     Sale/Funds         Asset Fully           Lien             Exempt
            (Scheduled And Unscheduled (u) Property)            Unscheduled       By Trustee, Less        Abandoned     Received by     Administered (FA)/      Amount            Amount
                                                                   Values        Liens, Exemptions,       OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                            and Other Costs)        DA=§554(c)                    Remaining Assets

           Orig. Asset Memo: Exempt under Section 522(d)(3);
         Imported from Amended Doc#: 9

 9       Clothes and Wearing Apparel                                    200.00                0.00                               0.00                    FA              0.00              200.00
           Orig. Asset Memo: Exempt under Section 522(d)(3);
         Imported from Amended Doc#: 9

10       Cash                                                        4,500.00                 0.00                               0.00                    FA              0.00           4,500.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9

11       Checking and Savings Accounts: USAA Bank                       305.00                0.00                               0.00                    FA              0.00              305.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9

12       Checking Account: Navy Federal Credit Union                      0.00                0.00                               0.00                    FA              0.00                0.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9

13       Savings Account: Navy Federal Credit Union                      25.00                0.00                               0.00                    FA             54.00               25.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9

14       Checking and Savings Accounts: Summit Credit Uni               225.00                0.00                               0.00                    FA              0.00              225.00
           Orig. Asset Memo: Exempt under Section 522(d)(5);
         Imported from Amended Doc#: 9

15       403(b) & 457: TransAmerica                                 48,246.35                 0.00                               0.00                    FA              0.00          48,246.35
           Orig. Asset Memo: Exempt under Section 522(d)(12);
         Imported from Amended Doc#: 9

16       Roth IRA: USAA Bank                                         7,510.12                 0.00                               0.00                    FA              0.00           7,510.12



                                                                                                                                                        Printed: 10/15/2019 11:45 AM       V.14.60
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                                                             Individual Estate Property Record and Report
                                                                              Asset Cases
Case Number:           19-10838 BAK                                                                    Trustee: (530190)           Charles M. Ivey, III
Case Name:             TRAN, TRUNG TRIEU                                                               Filed (f) or Converted (c): 08/07/19 (f)
                                                                                                       §341(a) Meeting Date:       09/03/19
Period Ending:         09/30/19                                                                        Claims Bar Date:

                                  1                                     2                  3                    4              5                   6                  7                  8
                                                                                      Est Net Value
                        Asset Description                            Petition/     (Value Determined         Property      Sale/Funds         Asset Fully          Lien             Exempt
             (Scheduled And Unscheduled (u) Property)              Unscheduled      By Trustee, Less        Abandoned      Received by     Administered (FA)/     Amount            Amount
                                                                      Values       Liens, Exemptions,       OA=§554(a)      the Estate      Gross Value of
Ref. #                                                                              and Other Costs)        DA=§554(c)                     Remaining Assets

           Orig. Asset Memo: Exempt under Section 522(d)(12);
         Imported from Amended Doc#: 9

20       Void                                                               0.00                0.00                                0.00                   FA             0.00                 0.00

21       Void                                                           Unknown                 0.00                                0.00                   FA             0.00                 0.00

22       Possible 11 U.S.C. 1983 Claim against the County (u)               0.00                0.00                                0.00                   FA             0.00                 0.00

 19      Assets         Totals (Excluding unknown values)            $447,798.97               $0.00                               $0.00                $0.00      $428,344.32      $165,108.97



      Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                FIRST INTERIM REPORT 10/15/19: Trustee is reviewing the financial affairs of the Debtor. Trustee has filed a limited Objection to a Motion for Relief filed by the
                secured lienholder regarding real property in Wisconsin. The Trustee is investigating a potential sale of the Wisconsin real estate with secured creditor agreed to
                carve out for unsecured creditors. There is no bank account at this time.

      Initial Projected Date Of Final Report (TFR):                                              Current Projected Date Of Final Report (TFR):


                 October 15, 2019
          __________________________                                                             /s/ Charles M. Ivey, III
                                                                                                 _________________________________________________________________
                          Date                                                                   Charles M. Ivey, III


      Copy Served On: Mr. William P. Miller
                      Bankruptcy Administrator




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